      Case 3:18-cv-00296-LRH-CLB Document 111 Filed 11/18/19 Page 1 of 3



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19 Attorneys for Defendant/Counter-Plaintiff Martin Tripp
                              UNITED STATES DISTRICT COURT
20
                                     DISTRICT OF NEVADA
21
   TESLA, INC., a Delaware corporation,             Case No. 3:18-cv-00296-LRH-CLB
22                Plaintiff,
23                                                    STIPULATION AND [PROPOSED]
           vs.
                                                      MODIFICATION TO BRIEFING
24                                                    SCHEDULE RE MOTION TO
     MARTIN TRIPP, an individual,                     COMPEL THE DEPOSITION OF
25             Defendant.                             ELON MUSK
26                                                    (SECOND REQUEST)
27 AND RELATED COUNTERCLAIMS

28


        STIPULATION AND [PROPOSED] MODIFICATION TO BRIEFING SCHEDULE (SECOND REQUEST)
      Case 3:18-cv-00296-LRH-CLB Document 111 Filed 11/18/19 Page 2 of 3



 1          Pursuant to Local Rule IA6-1, Plaintiff and Counter-Defendant Tesla, Inc. (“Tesla”) and

 2 Defendant and Counter-Plaintiff Martin Tripp (“Tripp”) submit the following Stipulation and

 3 Proposed Modification to Briefing Schedule re Motion to Compel the Deposition of Elon Musk.

 4 This is the parties second request for an extension to the briefing schedule.

 5          The parties previously agreed and the Court approved, a briefing schedule on Tripp’s

 6 motion to compel the deposition of Elon Musk (the “Motion”) as follows: Tripp to file motion by

 7 October 18, 2019; Tesla to file opposition by November 18, 2019; Tripp to file reply by December

 8 4, 2019; and telephonic hearing on December 13, 2019 at 9:00 a.m. (ECF 109.) Due Mr. Musk’s

 9 extensive international travel, Tesla requires an additional two days to finalize its opposition. Thus,
10 the parties submit that good cause exists for a two-day extension of the filing date of the

11 opposition. This stipulation does not affect the filing date for the reply or the date for the

12 telephonic hearing.

13          For the foregoing reasons, the parties stipulate and respectfully request that the briefing

14 schedule on Tripp’s motion to compel the deposition of Elon Musk be modified as follows:

15          1.     Tesla shall file its opposition to the motion to compel by November 20, 2019.

16          2.     The dates for any reply brief and the telephonic hearing shall remain unchanged.

17 Dated: November 15, 2019                        CHARIS LEX P.C.

18

19                                                 By: /s/ Sean P. Gates
                                                       Sean P. Gates
20                                                     Attorneys for Plaintiff and
                                                       Counter-Defendant Tesla, Inc.
21

22 Dated: November 15, 2019                        TIFFANY & BOSCO, P.A.

23

24                                                 By: /s/ William Fischbach
                                                       William Fischbach
25                                                     Attorneys for Defendant Martin Tripp
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        STIPULATION AND [PROPOSED] MODIFICATION TO BRIEFING SCHEDULE (SECOND REQUEST)
     Case 3:18-cv-00296-LRH-CLB Document 111 Filed 11/18/19 Page 3 of 3



 1                                      ORDER

 2                                      IT IS SO ORDERED:
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 4
                                        HON. CARLA BALDWIN
 5
                                        UNITED STATES MAGISTRATE JUDGE
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                                        DATED:          November 18, 2019
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      STIPULATION AND [PROPOSED] MODIFICATION TO BRIEFING SCHEDULE (SECOND REQUEST)
